            Case 1:19-mj-00502-BPG Document 3 Filed 02/25/19 Page 1 of 10
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                       IN THE UNITED STATES DISTRICT COURT
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                           FOR THE DISTRICT OF MARYLAND
                                                                               CLERK AT BAl-TI;t;MRE
                                                                                     u.s. DISTRI     URT
IN THE MATTER OF THE SEARCH OF:                       •                          OlsTRtCT
                                                                                        OF            oEl'\1N

                                                      *                    ~-0502                 PG
One (1) iPhone X in black Otterbox Case               •      Case No .
ATF evidence item #0022 in IN 768055-18-0028         •
                                                     •
One (I) Silver iPhone Model AI453                    •
IMEI352035066876749                                  •
ATF evidence item #0023 in IN 768055-18-0028         •
                                                     •
One (1) Silver iPhone Model A 1549                   •
IMEI 355792072837811                                 •
ATF evidence item #0024 in IN 768055-18-0028         •
                                                     •
One (1) Samsung Black Flip Phone                     •
667-209-2038 Written on back of phone                •
ATF evidence item #0025 in IN 768055-18-0028         •
                                                      •

      AFFIDAVIT      IN SUPPORT OF AN APPLICATION UNDER RULE 41 FOR A
                          WARRANT TO SEARCH AND SEIZE

       I, Rebecca Tomlinson, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION         AND AGENT BACKGROUND

       I.      I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and Explosives

(ATF). I am assigned to the Office of Field Operations for the Washington Field Division-East,

located in Washington, DC. I have been employed as a Special Agent with ATF since August 2007.

I am a graduate of the Federal Law Enforcement Training Center and the ATF National Academy,

where I received training in federal firearms and narcotics laws.

       2.       The facts in this affidavit come from information obtained from other agents and law

enforcement officers, witnesses, my knowledge, training and experience, and personal observations.
             Case 1:19-mj-00502-BPG Document 3 Filed 02/25/19 Page 2 of 10



This affidavit is intended to show there is sufficient probable cause for the requested warrant and

does not set forth all of my knowledge about this matter.

        3.       I make this affidavit in support of an application under Federal Rule of Criminal

Procedure 41 for a warrant authorizing the search and seizure of the cellular telephones described

further in Attachment A (hereinafter the "TARGET TELEPHONES"), for evidence of violations of

18 U.S.C.    S 1951(a)   (Conspiracy to Commit Hobbs Act Robbery and Hobbs Act Robbery). The

applied for warrant would authorize the forensic examination of the TARGET TELEPHONE for the

purpose of identifying electronically stored data particularly described in Attachment B.

        4.       Based on my knowledge, training and experience and the facts set forth in this

affidavit, there is probable cause to believe that evidence, fruits and instrumentalities of violations of

18 U.S.C.    S 1951(a)   (Conspiracy to Commit Hobbs Act Robbery and Hobbs Act Robbery), will be

found in the memory and in the content of the TARGET TELEPHONES, as defined below.

                                        PROBABLE CAUSE

        5.       On January 16,2018, at I 2:05pm, Baltimore County Police units were dispatched

to the Exxon Gas Station, located at 10540 Reisterstown Road, Owings Mills, Maryland for an

armed robbery. Upon arrival, officers located the victim of the robbery lying on the ground in

the parking lot, semi-conscious.    The victim was 72 years old and was not able to speak with

officers at the scene due to significant head injuries. He was transported to the hospital and was

diagnosed with multiple skull fractures and a cerebral hemorrhage and was in critical condition.

He had no memory of the incident or the time surrounding the incident.

        6.       Surveillance video from the Exxon Gas Station shows the victim leaving the store

with a bag of cash in his possession. As the victim was leaving the store, he stopped to talk to


                                                    2
l\}f
                    Case 1:19-mj-00502-BPG Document 3 Filed 02/25/19 Page 3 of 10



       JESSE ELDER. While speaking to ELDER, two suspects position themselves behind vehicles in

       the Exxon Gas Station parking lot out of the sight of the victim. After the victim finishes his

       conversation with ELDER, both suspects emerge from their positions. The suspects immediately

       push the victim to the ground, causing him to hit his head. The suspects then grabbed the bag of

       money and fled on foot southbound towards the parking lot of I0526 Reisterstown Road, Owings

       Mills, Maryland (Northwest Animal Hospital). While fleeing, a witness attempted to trip one of

       the suspects who lost his black and yellow shoes and continued running. Both suspects got into a

       silver Infiniti that was parked, but left running, in the parking lot. The suspects then drove

       southbound on Reisterstown Road.

              7.       ELDER was interviewed at the scene and told officers he got into his vehicle and

       attempted to follow the suspect vehicle. ELDER was able to take a picture of the vehicle's tag,

       which revealed the tag was New York registration ANZ3339. A short time later, a hit and run

       accident was dispatched in the area of Reisterstown Road and Owings Mills Boulevard with the

       suspect vehicle being described as a champagne colored Infiniti bearing New York registration

       ANZ3339. The occupants of the vehicle were never identified and left the scene ofthe accident.

       ELDER provided a phone number on the witness statement form that was not his, and then left

       the scene without signing the statement form. A check of databases determined that ELDER

       never called 911 despite claiming to witness the incident, follow the vehicle for several minutes,

       and witness the hit and run.

               8.      A Court Order for ELDER's call detail records for phone number 443-207-3799

       show ELDER completed a call to a cell phone connected to BUTTS, 443-453-8749, a few

       minutes after the robbery occurred. This is the only call made from the phone after the robbery.


                                                         3
            Case 1:19-mj-00502-BPG Document 3 Filed 02/25/19 Page 4 of 10



According to the cellular data received for the number, ELDER's phone was in the area of

Reisterstown Road in Baltimore City when he made this call and not following the getaway

vehicle. Investigators further determined that ELDER had an additional phone number, 443-593-

8147. A check of the call detail records revealed this number also had cellular interactions with

BUTTS before and after the robbery occurred. Furthermore, according to the call detail records

and GPS data, BUTTS' phone, 443-453-8749, was near ELDER's residence before the robbery,

in the area of the robbery on January 16,2018 during the incident, and fled the scene of the

robbery down Reisterstown Road and onto 795 as it was previously described.

       9.      On April 16,2018, Baltimore County Police received the results of the DNA

analysis on the black and yellow shoes that were recovered from the scene of the robbery. A

positive CaDIS hit matched the DNA sample recovered from the black and yellow shoes to

LEVaN BUTTS.

        10.    On August 2, 2018, a federal grand jury for the District of Maryland returned an

indictment charging BUTTS and ELDER with violations of 18 U.S.c.           S   1951(a) (Conspiracy to

Commit Hobbs Act Robbery and Hobbs Act Robbery) and related charges. A federal arrest warrant

was issued for BUTTS.

        11.     On January 30, 2019, a Baltimore County police officer conducted a traffic stop in

Gwynn Oak, Maryland on a black Honda Accord with Maryland registration 1DB9544 for having a

suspended registration.   The officer made contact with the driver, later identified as BUTTS, and

BUTTS provided the officer with a Maryland Driver's License for a Dontaye Montez Carter.

BUTTS was the sole occupant of the vehicle. During the traffic stop, BUTTS placed the vehicle in

drive and drove away at a high rate of speed. The officer followed BUTTS' vehicle in his patrol car.


                                                  4
          Case 1:19-mj-00502-BPG Document 3 Filed 02/25/19 Page 5 of 10



BUTTS vehicle became disabled and the officer observed BUTTS exit the vehicle and run into a

wooded area. A perimeter was established and a Baltimore County Police K-9 was deployed.

BUTTS was apprehended via K-9 bite. BUTTS advised that he fled because he knew he had

outstanding warrants and that the identification card he provided was his brother's identification.

        12.    Baltimore County Police Officers recovered four cell phones from inside BUTTS'

disabled vehicle (the TARGET TELEPHONES).             The cell phones were seized by the officers

and were given to ATF to place into evidence. Hems seized include, but are not limited to, the

following items:

               a.      iPhone X in black Otterbox Case placed in ATF evidence as item

               #0022 in IN 768055-18-0028;

               b.      Silver iPhone Model A1453 with IMEI 352035066876749 placed in

               ATF evidence as item #0023 in IN 768055-18-0028;

               c.      Silver iPhone Model A1549 with IMEI355792072837811              placed in

               ATF evidence as item #0024 in IN 768055-18-0028; and

               d.      Samsung Black Flip Phone with 667-209-2038 Written on back of

               phone placed in ATF evidence as item #0025 in IN 768055-18-0028.

        13.    The TARGET TELEPHONES were taken into ATF custody and were maintained as

evidence through proper procedures. The items were placed in ATF evidence and are currently being

stored as evidence at the ATF Baltimore Field Division, located at 31 Hopkins Plaza, Baltimore,

Maryland ..

        14.    I know from my training and experience that electronic devices such as cellular

telephones often contain stored information, including but not limited to text messages, chat logs,


                                                  5
          Case 1:19-mj-00502-BPG Document 3 Filed 02/25/19 Page 6 of 10



photographs, phone records, physical location data and internet search data. Additionally, evidence

gathered in this case has revealed that the co-defendants communicated via cellular telephone before

and during the robbery.         Therefore, there is probable cause to believe that the TARGET

TELEPHONES may contain further communications between the individuals identified supra and

others yet to be identified. Therefore, I submit there is probable cause to believe that the TARGET

TELEPHONES described in Attachment A will contain information relevant to the investigation of

the January 16, 2018 robbery of the Exxon Gas Station, located at 10540 Reisterstown Road, Owings

Mills, Maryland.

        15.      Because this warrant seeks only permission to examine devices already in law

enforcement's possession, the execution of this warrant does not involve the physical intrusion onto

a premise. Consequently, your affiant submits there is reasonable cause for the Court to authorize

execution of the warrant at any time in the day or night.

                                           CONCLUSION

        16.      Based on information above, I respectfully submit there is probable cause to believe

that 18 U.S.C.   S 1951(a)   (Conspiracy to Commit Hobbs Act Robbery and Hobbs Act Robbery) was

committed by LEVON BUTTS. Further, there is probable cause to believe that evidence of the

aforementioned criminal violations is contained in the TARGET TELEPHONES.




                                                   6
          Case 1:19-mj-00502-BPG Document 3 Filed 02/25/19 Page 7 of 10
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       I affirm under penalty of perjury that the facts and circumstances outlined in this affidavit are

true and accurate to the best of my knowledge and belief.


       Respectfully submitted,




       Rebecca J. Tomlinson
       Special Agent, Bureau of Alcohol, Tobacco, Firearms and Explosives
                                                       (/ IIJ,.
       Subscribed and sworn to before me this _~6_day             of February, 2019



          ~              ~----.....
       THE HONORABLE BETH P. GESNh::
       UNITED STATES MAGISTRATE JUDGE




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          Case 1:19-mj-00502-BPG Document 3 Filed 02/25/19 Page 8 of 10

                                                                      19-0502BPG
                                         ATTACHMENT A

The property to be searched is:

               a.      iPhone X in black Otterbox Case placed in ATF evidence as item #0022 in

                    IN 768055-18-0028;

               b.      Silver iPhone Model AI453 with IMEI 352035066876749 placed in ATF

                    evidence as item #0023 in IN 768055-18-0028;

               c.      Silver iPhone Model AI549 with IMEI 355792072837811 placed in ATF

                    evidence as item #0024 in IN 768055-18-0028; and

               d.      Samsung Black Flip Phone with 667-209-2038 Written on back of phone

                    placed in ATF evidence as item #0025 in IN 768055-18-0028.

This warrant authorizes the forensic examination of these devices for the purpose of identifYing

the electronically stored information described in Attachment B.




                                                8
          Case 1:19-mj-00502-BPG Document 3 Filed 02/25/19 Page 9 of 10

                                                                              19-05028PG
                                        ATTACHMENT B

        The item described in Attachment A may be searched for the following items, which may
be seized:

       I.     All information that constitutes fruits, evidence and instrumentalities of violations of
18 U.S.C. gI951(a) (Conspiracy to Commit Hobbs Act Robbery and Hobbs Act Robbery) that may
have been committed, including:

               a.      All records, information and communications relating to communication or
       contact between JESSE ELDER and LEVON BUlTS and other individuals involved in or
       related to the commission of the crimes under investigation;

              b.      All records, information and communications regarding the carrying out of the
       crimes under investigation;

               c.     Evidence indicating how and when the device was accessed or used, to
       determine the chronological and geographic context of device access, use, and events relating
       to the crimes under investigation and to the device owner or users;

               d.     Evidence indicating the device owner or user's state of mind as it relates to
       the crimes under investigation;

               e.      The identity of the person(s) who owned or used the device, including records
       that help reveal the whereabouts of such person(s);

               f.       Evidence about the proceeds of the crime, including bank records, checks,
       credit card bills, account information, and other financial records;

               g.      Telephone contact logs and phone/address books;

               h.      Photographs that depict possible clothing of the suspects.

        2.      Evidence of user attribution showing who used or owned the devices at the time
the things described in this warrant were created, edited, or deleted, such as logs, phonebooks,
saved usernames and passwords, documents, photographs, videos, and browsing history;

        With respect to the search of any of the items described in paragraphs I above which are
stored in the form of magnetic or electronic coding on computer media or on media capable of being
read by a computer with the aid of computer-related equipment (including any cellular device or
personal data assistant), the search procedure may include the following techniques (the following is
a non-exclusive list, and the government may use other procedures that, like those listed below,
minimize the review of information not within the list of items to be seized as set forth herein, while
permitting government examination of all the data necessary to determine whether that data falls

                                                  9
            Case 1:19-mj-00502-BPG Document 3 Filed 02/25/19 Page 10 of 10



within the items to be seized):

        a.     surveying various file "directories" and the individual files they contain
(analogous to looking at the outside of a file cabinet for markings it contains and opening a
drawer believed to contain pertinent files);

       b.      "opening" or cursorily reading the first few "pages" of such files in order to
determine their precise contents;

       c.       "scanning" storage areas to discover and possible recover recently deleted files;

       d.       "scanning" storage areas for deliberately hidden files; or

        e.       performing key word searches or other search and retrieval searches through all
electronic storage areas to determine whether occurrences of language contained in such storage
areas exist that are intimately related to the subject matter of the investigation

        If after performing these procedures, the directories, files or storage areas do not reveal
evidence that is sizable under this warrant, the further search of that particular directory, file or
storage area, shall cease.

        As used above, the terms "records" and "information" include all of the foregoing items
of evidence in whatever form and by whatever means they may have been created or stored,
including any form of computer or electronic storage (such as flash memory or other media that
can store data) and any photographic form.




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